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Information to identify the case:
Debtor 1
                       John Allen Yanchunis Sr.                                       Social Security number or ITIN   xxx−xx−1836
                                                                                      EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                              Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                   EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Middle District of Florida

Case number:          8:16−bk−10109−MGW


Order of Discharge                                                                                                                   12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1141(d)(5) is granted to:

             John Allen Yanchunis Sr.




                                                              ____________________________________________
                                                              Michael G. Williamson
              Dated: March 22, 2022                           United States Bankruptcy Judge

Explanation of Bankruptcy Discharge in an Individual Chapter 11 Case

This order does not close or dismiss the case.                                Most debts are discharged
                                                                              Most debts are covered by the discharge, but not
Creditors cannot collect discharged debts                                     all. Generally, a discharge removes the debtors'
                                                                              personal liability for debts provided for by the
This order means that no one may make any                                     chapter 11 plan.
attempt to collect a discharged debt from the
debtors personally. For example, creditors                                    In a case involving community property: Special
cannot sue, garnish wages, assert a deficiency,                               rules protect certain community property owned
or otherwise try to collect from the debtors                                  by the debtor's spouse, even if that spouse did
personally on discharged debts. Creditors cannot                              not file a bankruptcy case.
contact the debtors by mail, phone, or otherwise
in any attempt to collect the debt personally.
Creditors who violate this order can be required                              Some debts are not discharged
to pay debtors damages and attorney's fees.                                   Examples of debts that are not discharged are:
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that                                ♦ debts that are domestic support
lien unless the lien was avoided or eliminated.                                      obligations;
For example, a creditor may have the right to
foreclose a home mortgage or repossess an
automobile.                                                                        ♦ debts for most student loans;

This order does not prevent debtors from paying
any debt voluntarily. 11 U.S.C. § 524(f).                                          ♦ debts for most taxes;


                                                                                   ♦ debts that the bankruptcy court has
                                                                                     decided or will decide are not discharged
                                                                                     in this bankruptcy case;
                                                                                          For more information, see page 2 >

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    ♦ debts for most fines, penalties,                     In addition, this discharge does not stop
      forfeitures, or criminal restitution                 creditors from collecting from anyone else who is
      obligations;                                         also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
                                                           guaranteed a loan.
    ♦ some debts which the debtors did not
      properly list;
                                                           This information is only a general summary
                                                           of an individual chapter 11 discharge; some
    ♦ debts for certain types of loans owed to             exceptions exist. Because the law is
      pension, profit sharing, stock bonus, or             complicated, you should consult an
      retirement plans; and                                attorney to determine the exact effect of the
                                                           discharge in this case.
    ♦ debts for death or personal injury caused
      by operating a vehicle while intoxicated.




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